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                Exhibit A
                    Case 5:17-cv-01213-DAE Document 1-1 Filed 11/29/17 Page 2 of 16




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 17338576
Notice of Service of Process                                                                            Date Processed: 10/31/2017

Primary Contact:           Service Process Team 3-11-309
                           Nationwide Mutual Insurance Company
                           Three Nationwide Plaza
                           Columbus, OH 43215

Electronic copy provided to:                   Cassandra Struble
                                               Kevin Jones
                                               Joshua Schonauer

Entity:                                       Nationwide General Insurance Company
                                              Entity ID Number 3286564
Entity Served:                                Nationwide General Insurance Company
Title of Action:                              Hossein & Ladan Manesh vs. Nationwide General Insurance Company
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Bexar County District Court, Texas
Case/Reference No:                            2017C119304
Jurisdiction Served:                          Texas
Date Served on CSC:                           10/31/2017
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Law Office of Rudy Wattiez
                                              N/A

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                           Case 5:17-cv-01213-DAE Document 1-1 Filed 11/29/17 Page 3 of 16
CERTIFIED MAIL #70162070000075206379
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                                                                                                         2017CI19304   s00902
                                                              Case Number: 2017-CI-19304
HOSSEIN & LADAN MANESH

       vs.                                                                                                     IN THE DISTRICT COURT
                                                                                                                45th JUDICIAL DISTRICT
NATIONWIDE GENERAL INSURANCE COMPANY                                                                           BEXAR COUNTY, TEXAS
(Note: Attached document may contain additional litigants).
                                                                        CITATION


"THE STATE OF TEXAS"
DIRECTED T0:                    NATIONWIDE GENERAL INSURANCE COMPANY


                                BY SERVING ITS REGISTERED AGENT, CORPORATION SERVICE COMPANY
                                211 E 7TH STREET 620
                                AUSTIN TX 78701-3218


"You have been sued. You may employ an attomey. If you or your attomey do not file a written answer with the clerk who issued this citation by
10:00 a.m. on the Monday. next following the expiration of twenty days after you were served this CITATION and ORIGINAL PETITION AND
REQUEST FOR DISCLOSURE, a defaultjudgment may be taken against you." Said CITATION with ORIGINAL PETITION AND REQUEST FOR
DISCLOSURE was filed on the 6th day of October, 2017.




ISSUED UNDER MY HAND AND SEAL OF SAID COURT ON THIS 26TH DAY OF October A.D., 2017.



RUDY-RAUL WATTIEZ                                                              ~4~°`"Ea'R,,      Donna Kay NfiKinney
ATTORNEY FOR PLAINTIFF                                                                           Bexar County District Clerk
2118 N MAIN AVE 102                                                                              101 W. Nueva, Suite 217
SAN ANTONIO, TX 78212 5851                                                s;                  ~ San Antonio, Texas 78205

                                                                                        ~?'      By: 9I4arriaJA6iCez, Deputy
HOSSEIN & L.ADAN MANESH                                                                                 Case Number: 2017-CI-19304
vs
                                                                      Officer's Return
                                                                                                        Court: 45th Judicial District Court
NATIONWIDE GENERAL INSURANCE COMPANY



Came to hand on the 26th day of October 2017, A.D., at 1:59 o'clock P.M. and EXECUTED (NOT EXECUTED) by CERTIFIED MAIL, on the
        day of                20        by deilvering to:                                                       at 211 E 7TH STREET 620
AUSTIN TX 78701-3218 a true copy of this Citation, upon which I endorsed that date of delivery, together with the accompanying copy of the
CITATION with ORIGINAL PETITION AND REQUEST FOR DISCLOSURE.

Cause of failure to execute this Citation is




                                                                                                 Donna Kay W-Kinney
                                                                                                 Clerk of the District Courts of
                                                                                                 Bexar County, TX
                                                                                                 By: Itarta1A6iCez, Deputy


                                                                                                                  ORIGINAL (DK003)
                      Case 5:17-cv-01213-DAE   Document 1-1 Filed 11/29/17 Page 4 of 16
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10/6/2017 1:41 PM
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Donna Kay McKinney
Bexar County District Clerk                                                                    I(DI1lz~
Accepted By: Krystal Gonzalez


                                        CAUSE NUMBER
                                                                2017C119304
           Hossein & Ladan Manesh,                        §               IN THE DISTRICT COURT OF
                                                          §
                  Plaintiffs,                             §
                                                          §                    45
           vs.                                            §                         JUDICIAL DISTRICT
                                                          §
           Nationwide General Insurance                   §
           Company,                                       §
                                                          §
                  Defendant                               §                    BEXAR COUNTY, TEXAS



                  PLAINTIFFS' ORIGINAL PETITION AND REQUEST FOR DISCLOSURE


           TO THE HONORABLE JUDGE OF SAID COURT:

                  NOW COMES, HOSSEIN & LADAN MANESH (hereinafter referred to as

           ("PLAINTIFFS"), and file their first Original Petition against DEFENDANT, NATIONWIDE

           GENERAL INSURANCE COMPANY for cause of action would respectfully show the Court

           the following:

                                                     I.       Discovery

                  Pursuant to rule 190 of the Texas Rules of Civil Procedure, PLAINTIFFS intend to

           conduct discovery under Leve13.

                                               II.        Service of Process

                  Defendant, NATIONWIDE GENERAL INSURANCE COMPANY, may be served

           with process by serving citation and a copy of this Original Petition by Certified Mail Return

           Receipt Requested on its agent for service: CHRIS GRANGER 15700 LONG VISTA DRIVE

           AUSTIN, TEXAS 78728 — 3822.




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          NATIONWIDE GENERAL INSURANCE COMPANY is in the business of

insurance in the State of Texas. The insurance business done by NATIONWIDE GENERAL

INSURANCE COMPANY in Texas includes, but is not limited to the following:

     1.      The making and issuing of contracts of insurance with the PLAINTIFFS;

     2.      The taking or receiving of application for insurance, including the PLAINTIFFS'

             application for insurance;

     3.      The receiving or collection of premiums, commissions, membership fees,

             assessments, dues or other consideration for any insurance or any part thereof,

             including any such consideration or payments from the PLAINTIFFS;

     4.      The issuance or delivery of contracts of insurance to residents of this state or a

             person authorized to do business in this state, including the PLAINTIFFS;

     5.      The adjusting and inspection of PLAINTFFS' insurance claims;

     6.      Making insurance coverage decisions;

     7.      Taking part in making insurance coverage decisions; and

     8.      Making representations to PLAINTIFFS as being an agent for an insurance

             company with authority to make coverage decisions;


                                   III.   Jurisdiction and Venue

       Venue of this action is proper in BEXAR County, Texas because: the policy at issue was

issued and delivered in BEXAR County, Texas; the property insured is situated in BEXAR

County, Texas; PLAINTIFFS' losses occurred in BEXAR County, Texas, and all or part of the

events made the basis of this lawsuit and giving rise to PLAINTIFFS' claims and causes of

action occurred in BEXAR County, Texas.




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                                      IV.     Facts

    ;
         NATIONWIDE GENERAL INSURANCE COMPANY and/or its agents committed

the actions alleged by PLAINTIFFS in this complaint. PLAINTIFFS own the property located at

7807 CASTON PARK DR., SAN ANTONIO, TEXAS 78249-4122. POLICY NO.

7842H0874732, CLAIM NO. 059922-GD. NATIONWIDE GENERAL INSURANCE

COMPANY provided coverage to the PLAINTIFFS for such building, personal property, and

other matters under NATIOWIDE GENERAL INSURANCE COMPANY, insurance

POLICY NO. 7842H0874732. During the term of said policy, PLAINTIFFS sustained covered

losses in the form of multiple windstonm/hailstorm events including the windstorm of APRIL

29, 2016 in BEXAR County, and water damages resulting there from, including damage to the

architectural finishes of the property. PLAINTIFFS promptly reported losses to NATIONWIDE

GENERAL INSURANCE COMPANY pursuant to the terms of the insurance policy. As a

result, PLAINTIFFS' property sustained damage, including the cost of destruction and

restoration of the property necessary to access and fix the damaged areas. These are covered

damages under PLAINTIFFS' insurance policy with                    NATIONWIDE GENERAL

INSURANCE COMPANY. PLAINTIFFS have been damaged in an amount in excess of the

minimum jurisdictional limits of this Court, including injuries sustained as a result of having

conduct business during the pendency of NATIONWIDE GENERAL INSURANCE

COMPANY conduct.

                                 V.         Conditions Precedent

         All notices and proofs of loss were timely and properly given to NATIONWIDE

GENERAL INSURANCE COMPANY in such manner as to fully comply with the terms and

conditions of the relevant insurance policies or other contracts and applicable law. More than


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sixty days prior to the filing of this suit, written demand for payment and notice of complaint

pursuant to Texas Insurance Code, section 541 and Business and Commerce Code section

17.505(a), was sent to NATIONWIDE GENERAL INSURANCE COMPANY. All of the

conditions precedent to bring about this suit under the insurance policy have occurred. Despite

the fact that all conditions precedent to PLAINTIFFS recovery has occurred and/ or has been

performed, NATIONWIDE GENERAL INSURANCE COMPANY has failed and refused to

pay PLAINTIFFS a just amount in accordance with their contractual obligations, agreements,

and representations.

                                    VI. Breach of Contract

               PLAINTIFFS purchased an insurance policy with NATIONWIDE GENERAL

INSURANCE COMPANY. PLAINTIFFS' property was damaged by windstorm and water

damage, of which are covered under the insurance policy. NATIONWIDE GENERAL

INSURANCE COMPANY has denied and/or delayed payment of PLAINTIFFS' covered

claims. NATIONWIDE GENERAL INSURANCE COMPANY has no reasonable basis for

denying, delaying, or failing to pay PLAINTIFFS' claim for damages. NATIONWIDE

GENERAL INSURANCE COMPANY knew or should have known that there was no such

reasonable basis to deny, delay, and failure to pay such claim. The conduct of NATIONWIDE

GENERAL INSURANCE COMPANY                        was irresponsible, and unconscionable.

NATIONWIDE GENERAL INSURANCE COMPANY took advantage of the PLAINTIFFS'

lack of sophistication in insurance and construction matters to a grossly unfair degree.

NATIONWIDE GENERAL INSURANCE COMPANY has, by its conduct, breached its

contract with the PLAINTIFFS. The conduct of NATIONWIDE GENERAL INSURANCE

COMPANY has proximately caused the injuries and damages to the PLAINTIFFS.



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                                VII. Unfair Insurance Practices

       NATIONWIDE GENERAL INSURANCE COMPANY failed to inform PLAINTIFFS

of material facts such as the true scope of damage and cost to repair. NATIONWIDE

GENERAL INSURANCE COMPANY failed to properly process claims and have

misrepresented material facts to the PLAINTIFFS. NATIONWIDE GENERAL INSURANCE

COMPANY has failed to address all damage to the property and its contents causing further

damage to the PLAINTIFFS. Further, NATIONWIDE GENERAL INSURANCE COMPANY

has intentionally failed to fully investigate the loss; failed to properly convey all information to

PLAINTIFFS; and has intentionally ignored damages to the dwelling. PLAINTIFFS' property

suffered from covered losses and damages of which NATIONWIDE GENERAL

INSURANCE COMPANY are fully aware. NATIONWIDE GENERAL INSURANCE

COMPANY has concealed damage known by them to exist. NATIONWIDE GENERAL

INSURANCE COMPANY has known about covered windstorm and water damages but has

failed to perform proper testing and concealed facts from PLAINTIFFS about the damages,

ignoring PLAINTIFFS' pleas for help. NATIONWIDE GENERAL INSURANCE

COMPANY has failed to warn PLAINTIFFS of consequential damage to their property.

       By its conduct outlined above, NATIONWIDE GENERAL INSURANCE

COMPANY committed unfair practices in the business of insurance prohibited by Chapter 541,

Texas Insurance Code, and the statutes, rules and regulations incorporated therein.

NATIONWIDE GENERAL INSURANCE COMPANY committed the following acts in

violation of Texas Insurance Code and Texas Administrative Code:

(1)     NATIONWIDE GENERAL INSURANCE COMPANY failed to, with good faith,

       effectuate a prompt, fair, and equitable settlement of the PLAINTIFFS' claims once


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       liability became reasonable clear (Tex. Ins. Code Ann. 541.060(a)(2)(A); Tex. Ins. Code

       Ann. 542.003(b)(4); 28 TAC section 21.203(4));

(2)    NATIONWIDE GENERAL INSURANCE COMPANY failed to provide promptly to

       PLAINTIFFS a reasonable explanation of the basis in the policy, in relation to the facts

       or applicable law, for denial of the claim or for the offer of a compromise settlement of

       the claim (Tex. Ins. Code Ann. 541.060(a)(3); 28 TAC section 21.203(9));

(3)    NATIONWIDE GENERAL INSURANCE COMPANY refused to pay a claim

       without conducting a reasonable investigation with respect to that claim (Tex. Ins. Code

       Ann. 541.060(a)(7); TAC section 21.203(15));

(4)    NATIONWIDE GENERAL INSURANCE COMPANY breached its duty of good

       faith and fair dealing at common law;

(5)     NATIONWIDE GENERAL INSURANCE COMPANY failed within a reasonable

       time to affirm or deny coverage of a claim to a policyholder (Tex. Ins. Code Ann.

       541.060(a)(4)(A); 28 TAC section 21.203(10));

(6)     NATIONWIDE GENERAL INSURANCE COMPANY failed to adopt and

       implement reasonable standards for the prompt investigation of claims arising under the

       insurer's policies (Tex. Ins. Code Ann. 542. 003(b)(3); 28 TAC section 21.203(3));

(7)    NATIONWIDE GENERAL INSURANCE COMPANY compelled PLAINTIFFS to

       institute a suit to recover an amount due under a policy by offering substantially less than

       the amount ultimately recovered in a suit brought by the policyholder (Tex. Ins. Code

       Ann. 542.003(b)(5); 28 TAC section 21.203(6);

(8)    NATIONWIDE GENERAL INSURANCE COMPANY violated the Prompt Payment

       of Claims Statute (28 TAC section 21.203(18));



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(9)     NATIONWIDE GENERAL INSURANCE COMPANY undertook to enforce a full

        and final release of a claim from a policyholder when only a partial payment has been

        made, unless the payment is a compromise settlement of a doubtful or disputed claim

        (Tex. Ins. Code Ann. 541.060(a)(6); 28 TAC section 21.203(13));

(10)    NATIONWIDE GENERAL INSURANCE COMPANY committed the following

        unfair methods of competition or deceptive acts or practices in the business of insurance

        in violation of Texas Insurance Code and the Texas Administrative Code by:

        (a)    NATIONWIDE GENERAL INSURANCE COMPANY made, issued or

               circulated or caused to be made, issued or circulated an estimate, illustration,

               circular or statement misrepresenting with respect to the policy issued or to be

               issued:

               (i)       the terms of the policy; and/or

               (ii)      the benefits or advantages promised by the policy.

        (b)    NATIONWIDE GENERAL INSURANCE COMPANY made an untrue

               statement of material fact (Tex. Ins. Code Ann. 541.060(a)(1); 28 TAC section

               21.203(1));

        (c)     NATIONWIDE GENERAL INSURANCE COMPANY failed to state a

               material fact necessary to make other statements made not misleading considering

               the circumstances under which statements were made; and

        (d)    NATIONWIDE GENERAL INSURANCE COMPANY made statements in a

               manner that would mislead a reasonably prudent person to a false conclusion of

               material fact.




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       (e)     Refusing, failing, or unreasonably delaying a settlement offer under applicable

               first-party coverage on the basis that other coverage may be available or that third

               parties are responsible for the damages suffered, except as may be specifically

               provided in the policy (Tex. Ins. Code Ann 541.060(a)(5); 28 TAC section

               21.203(11); and                                              `

       (f)     Failing to respond promptly to a request by a claimant for personal contact about

               or review of the claim (28 TAC section 21.203(16)).

NATIONWIDE GENERAL INSURANCE COMPANY conduct as described herein was a

producing cause of damages to PLAINTIFFS for which it sues.

                    IX.    Breach of the Duty of Good Faith and Fair Dealing

       From and after the time the PLAINTIFFS' claim ' was presented to NATIONWIDE

GENERAL INSURANCE COMPANY, liability to pay the claim in accordance with the terms

of insurance policies 'referenced above has been reasonably clear. Despite there being no basis

whatsoever on which a reasonable insurance company would have relied to deny and/or delay

payment for PLAINTIFFS' claim, NATIONWIDE GENERAL INSURANCE COMPANY

refused to accept the claim in totality and pay the PLAINTIFFS as the policy required. At that

time, NATIONWIDE GENERAL INSURANCE COMPANY knew or should have known by

the exercise of reasonable diligence that their liability was reasonably clear. NATIONWIDE

GENERAL INSURANCE COMPANY failed to conduct a reasonable and proper inspection of

the claim and refused to rely on the true facts, resorting instead to producing faulty, incomplete

and biased reasons to avoid paying a valid claim. This constitutes failing to handle or process the

PLAINTFFS' claim in good faith, an affirmative duty placed on the Defendant, as expressly

stated by the Texas Supreme Court in Vail v. Texas Farm Bureau, 754 S.W.2d 129 at 135 (Tex.



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1988). Through the actions described above, NATIONWIDE GENERAL INSURANCE

COMPANY breached its duty to deal fairly and in good faith with the PLAINTIFFS.

NATIONWIDE GENERAL INSURANCE COMPANY breach was a proximate cause of the

losses, expenses and damages suffered by the PLAINTIFFS for which they sue.

               X.     Texas Insurance Code 542, Subehapter B Delay in Payment

       PLAINTIFFS gave prompt notice of their claim to NATIONWIDE GENERAL

INSURANCE COMPANY has engaged in unfair settlement claim practices as discussed above

and denied and/or has delayed payment on PLAINTIFFS claim. NATIONWIDE GENERAL

INSURANCE COMPANY reliance on reports and estimates from its adjusters and

investigating adjusters has been "merely pretextual" and unreasonable. NATIONWIDE

GENERAL INSURANCE COMPANY investigation and use of adjusters' reports was an

"outcome oriented investigation." NATIONWIDE GENERAL INSURANCE COMPANY

failed to comply with the requirements of Chapter 542 listed herein:


       (a)     Failing to notify PLAINTIFFS in writing, within 15 business days after receiving

              all of the items, statements, and forms required by the insurer to secure final proof

              of loss, of the acceptance or rejection of a claim; and/or

       (b)    Failing to pay PLAINTIFFS' claim within 60 days of receiving all of the items,

              statements, and forms required by the insurer to secure final proof of loss, of the

              acceptance or rejection of a claim; and

       (c)     Failing to request all of the items, statements and forms the Defendant reasonably

              believed at the time would be required from PLAINTIFFS to pay the claim within

              15 days after receiving notice of the claim.




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       Pursuant to Texas Insurance Code Chapter 542, Subchapter B, PLAINTIFFS are entitled

to recover from NATIONWIDE GENERAL INSURANCE COMPANY the statutory penalty

of 18% per annum on all amounts due on PLAINTIFFS' claim, together with attorney's fees, for

which they sue.

                                                XI.

       PLAINTIFFS allege that as to any terms, conditions, notices, or requests under the

insurance contract, PLAINTIFFS have substantially complied and/or is excused. In the

alternative, PLAINTIFFS make the allegation of waiver and/or estoppel as to every defense or

exclusion plead by NATIONWIDE GENERAL INSURANCE COMPANY as to any

exclusion, condition, or defense pled by NATIONWIDE GENERAL INSURANCE

COMPANY, PLAINTIFFS would show that:

           1. The clear and unambiguous language of the policy provides coverage for dwelling

               damage caused by windstorm and water damage, including the cost of access to

               fix the damaged areas. Any other construction of the language of the policy is

               void as against public policy;

           2. Any other construction and its use by NATIONWIDE GENERAL

               INSURANCE COMPANY violates section 541 and 542 of the Texas Insurance

               Code and are void as against public policy;

           3. Any other construction violates Art. 17.50 of the Texas Business and Commerce

               Code, is unconscionable, was procured by fraudulent inducement, and is void as

               against public policy;

           4. Any other construction is otherwise void as against public policy, illegal, and

               volatiles state law and administrative rule and regulation;



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             5. The adoption of any other construction ~ constitutes wrongful or bad faith

                cancellation and/or refusal to renew a portion of PLAINTIFFS' predecessor

                policy with NATIONWIDE GENERAL INSURANCE COMPANY. In this
         I
                regard, PLAINTIFFS would show that their insurance policy was renewed

                uninterrupted for many years; and

             6. The adoption of any other construction constitutes conduct in violation of the laws

                of this state, including section 541 and 542 of Texas Insurance Code is void as

                against public policy.


       If this Court finds any ambiguity in the policy, the rules of construction of such policies

mandate the construction and interpretation urged by PLAINTIFFS. In the alternative,

NATIONWIDE GENERAL INSURANCE COMPANY is judicially, administratively, or

equitably estopped from denying PLAINTIFFS' construction of the policy coverage at issue. To

the extent that the wording of such policy does not reflect the true intent of all parties thereto,

PLAINTIFFS plead the doctrine of mutual mistake requiring reformation.



                WHEREFORE, PREMISES CONSIDERED, PLAINTIFFS respectfully request

this Honorable Court for the following relief: That upon fmal hearing and trial hereof, this

Honorable Court grant to the PLAINTIFFS such relief as to which they may show themselves

justly entitled, either at law or in equity; either general or special, including declaratory

judgment, judgment against the defendant for actual attorney's fees, cost of suit, Texas insurance

code violations, statutory penalties, and prejudgment and post judgment interest, including

judgment for damages under the facts set forth in this or any amended pleading in exceeding the

minimal jurisdicted limits of the court.

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                                            XIII. JURY DEMAND

    PLAINTIFFS request this Court empanel a jury to sit in the trial of this matter. The requisite jury

    fee will be paid as required by law.



                                           XIV. DAMAGES SOUGHT

    PLAINTIFF seeks damages of less than $75,000, exclusive of interest and costs.



                                      XV. REQUEST FOR DISCLOSURE

       Under Texas Rule of Civil Procedure 194, PLAINTIFFS request that NATIONWIDE

    GENERAL INSURANCE COMPANY disclose, within 50 days of the service of this request,

    the information or material described in Texas Rule of Civil Procedure 194.

                                                                              Respectfully submitted,

                                                                        Law Office of Rudy Wattiez
                                                                             2118 N. Main, Suite 102
                                                                           San Antonio, Texas 78212
                                                                          Telephone: (210) 320-9284
                                                                           Facsimile: (210) 320-9286


                                                                                /S/RUDY WATTIEZ
                                                                              State Bar No. 24037682
                                                                              r wattiez(ii)yahoo.com

                                                    ATTORNEYFOR HOSSEIN & LADAN 11IANESH




    Plaintiffs Original Petition                                                              Page 12
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Donna Kay M£Kinney                                                                                                                            I
Bexar County District Clerk
101 W. Nueva, Suite 217
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RETURN SERVICE REQUESTED                          211 E 7TH STREET 620
                                                  RUSTIN, TX 78701-3215
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